      Case 4:24-cv-03662     Document 8      Filed on 12/10/24 in TXSD      Page 1 of 1
                                                                                United States District Court
                                                                                  Southern District of Texas

                                                                                     ENTERED
                                                                                 December 10, 2024
                          UNITED STATES DISTRICT COURT
                                                                                  Nathan Ochsner, Clerk
                           SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION


SVETLANA A PESTOVA, et al.,                   §
      Plaintiffs,                             §
                                              §
VS.                                           §   CIVIL ACTION NO. 4:24-CV-03662
                                              §
PHH MORTGAGE, et al.,                         §
     Defendants.                              §


                               ORDER TO SHOW CAUSE

        The Court ordered the parties to attend an Initial Pretrial and Scheduling Conference

in this action on December 6, 2024, at 11:00 A.M. by video before Magistrate Judge Peter

Bray. (Dkt. 3). Neither party appeared.

        Accordingly, the parties are hereby ORDERED to appear for a hearing to show

cause why they failed to appear for the December 6, 2024 hearing. The show cause hearing

will be on December 18, 2024 at 1:30 P.M. by zoom.

        Failure to appear at the show cause hearing may result in dismissal of this case for

want of prosecution or in such other sanctions as the Court deems appropriate.

  https://www.zoomgov.com/j/1605436517?pwd=KEcUkRARIKpja1RDjhK5kD3hwuRwJL.1
                                 Meeting ID: 160 543 6517
                                    Passcode: 208408


        Signed in Houston, Texas this 10th day of December, 2024.



                                                     ________________________________
                                                           GEORGE C. HANKS, JR
1/1
                                                     UNITED STATES DISTRICT JUDGE
